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AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case


                                    UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF CALIFORNIA

              UNITED STATES OF AMERICA                            JUDGMENT IN A CRIMINAL CASE
                               V.                                 (For Offenses Committed On or After November 1, 1987)

                       JEFFREY STOFF (4)                            Case Number:       15CR2932-H

                                                                  Michael Pancer
                                                                  Defendant's Attorney
Registration Number: 51728-298

 • -
THE DEFENDANT:
 lgJ   pleaded guilty to count(s)    1 of the Superseding Information.

 D  was found guilty on count(s)
     after a nlea of not ~uiltv.
 Accordingly, the defendant is adjudged guiltv of such count(s). which involve the following offense(s):
                                                                                                                  Count
 Title & Section                    Nature of Offense                                                            Number(s)
 18 USC 1955, 2                     ILLEGAL GAMBLING BUSINESS; AIDING AND ABETTING                                   I




     The defendant is sentenced as provided in pages 2 through             2          of this judgment.
 The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 D     The defendant has been found not guilty on count(s)

 lgJ   Count(s)    in the underlying Indictment              are dismissed on the motion of the United States.


 lgJ   Assessment: $100.00.

 lgJ Fine waived            D Forfeiture pursuant to order filed                                       , included herein.
        IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
 judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
 any material change in the defendant's ecoRsRlie fircumstances.

              I           FILED                                    Tune 29 2020
                                                                   Date of Imposition of Sentence

                            JUN 2 9 2020
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                                                                    ORA LEI
                                                                     I        m.
                                                                               _
                                                                              vfARIL     HUFF
                     CLERK US DIS 11,IC I GOU
                  SOUTHERN rns·1 t11cr oi'. cAi&ORNIA              UNITED STATES DISTRICT JUDGE
                  BY                     ~DEPUTY
         Case 3:15-cr-02932-H Document 1100 Filed 06/29/20 PageID.4172 Page 2 of 2


AO 245B (CASO Rev. 1/19) Judgment in a Criminal Case

DEFENDANT:              JEFFREY STOFF (4)                                                          Judgment - Page 2 of2
CASE NUMBER:            15CR2932-H

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 TIME SERVED.




 •      Sentence imposed pursuant to Title 8 USC Section 1326(b).
 •      The court makes the following recommendations to the Bureau of Prisons:




 •       The defendant is remanded to the custody of the United States Marshal.

 •       The defendant must surrender to the United States Marshal for this district:
         •   at
                  - - - - - - - A.M.                           on
         •    as notified by the United States Marshal.

         The defendant must surrender for service of sentence at the institution designated by the Bureau of
 •       Prisons:
         •    on or before
         •    as notified by the United States Marshal.
         D as notified by the Probation or Pretrial Services Office.

                                                        RETURN
 I have executed this judgment as follows:

         Defendant delivered on - ' - - - - - - - - - - - - - to _ _ _ _ _ _ _ _ _ _ _ _ _ __

  at
       - - - - - - - - - - - - , . with a certified copy of this judgment.


                                                                    UNITED STATES MARSHAL



                                      By                    DEPUTY UNITED STATES MARSHAL




                                                                                                            15CR2932-H
